Case No. 1:22-cv-01640-CNS-MDB Document 1-2 filed 07/01/22 USDC Colorado pgiof5

EXHIBIT “A”

,, U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

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DISMISSAL AND NOTICE OF RIGHTS
{This Notice replaces EEOC FORMS 161 & 161-Ab

Issued On: 03/25/2022
To: Dan Richards
9630 W Chatfield Ave
LITTLETON, CO 80128

Charge No: $31-2022-01431

ELOC Representative and Telephone Number. Legal Unt
(267) 789-9707

DISMISSAL OF CHARGE

The EEOC is closing this charge because your charge was nut filed within the niie imuts under
the law: in other words. you waited tuo long after the date of the alleged discrimination to file
your charge.

NOTICE OF YOUR RIGHT TO SUE

This is official notice from the EEOC of the dismassal of your charge and of your right to sue. If
you choose to file 4 lawsuit against the respondent(s) on this charge under federal law in federal
or state court, your lawsuit must be filed WITHIN 96 DAYS of your receipt of this notice.
Receipt penerally occurs on the date that you (or your representative) view this document. You
should keep a record of the date you received this notice. Your night to sue based on this charge
will be fust if you do net file a lawsuit im court within 40 days. (The time limit for filing a lawsuit
based on 4 claim under state law may be different.)

Equa! Pay Act (EPA): EPA suits must he fied m federal or state court vathin 2 years (3 years for willful

violations) of the alleged EPA underpayment. This means that backpay due for any violations that
eccurred mare than 2 years (3 years) before you file sult may not be collectible.

If you file a lawsuit based on this charge. please sign-in to the EEOC Pubhe Portal and upload the
court complaint to charge $31-2022-01431.

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‘ Baltimore Pletd OMe
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On Behalf of the Commission:

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ae 28 mals

Rosemarie Rhodes
Directoy

Plegse rela tis notice lor your records.
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INFORMATION RELATED TO FILING SUIT
UNDER THE Laws ENFORCED BY THE EEOC
(This information relates to filing suit in Federal or State court under Federal day. Wf yau also
plan te swe claiming violations of State law. please he aware that time limits may be shorter and
other provesions of State law may be different than those described helow)

imeortaNnr Time Lasgts — 90 DAVs To FILE a Lawsulr

If you choose ty file a lawsuit agaist the respondent(s) named us the charge of discrimination,
vou must file a complaint in court within 90 days of the date you receive this Notice. Receipt
generally means the date when you (or your representative) opened this emad or mail. You should
keep a record af the date you received this aetice. Ouce this 40-day perted bas passed, your
night to sue based on the charge referred to in this Notice will be lost, Lf you sntend to consult an
attomey, you should do so promptly. Give your attoracy a copy of this Notice, und the record of
your receiving if (email or envelope).

Your lawsuit may be Hled in US. Disinct Court or a State court of competent jurisdiction.
Whether you file in Federal or State court is a matter for you to decide after talking to your
attorney. You must file a "complaint" that contains a short statement of the facts of your case
which shows that you are entitled to rehel. Filing this Nutice is not enough. For more information
about filing a lawsuit, go to hiltps. wiw. cour sow employees. lawsuile fin

PRIVATE SUITRIGHTS ~ Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violatans) of the alleged EPA
underpayment: back pay due for violations that occurred mare than 2 yoara (3 years) before you fite
suit may not be collectbla. For cxampie, if you were underpaid under the EPA for work performed from
TAOB to 12/1/08, you should file suit befera 7/1/10 - no? 12/1/10 -- in order to recover unpaid wages due
for July 2008. This time limit for fding an EPA suit is separate trom the 90-day filng pericd under Title
Vil, the ADA, GINA or the ADEA ceterred to above. Therefore, f you also plan to sue under Titlo Vil. the
ADA. GINA or the ADEA, tn addition ta suing on the EPA claim, suit must be filed within 90 days of this
Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION
For information about locating an attoumey to represent you, go to:
Hifps. wow eens 201 employ cen Taw suit ctin.

in very himited circumstances, a U.S. District Court may appoint an allomey lo represent mdividuals
who demonstrate that they are financially wnable to afford an attomey

Nonce Or Ricuts Unoer THe ADA AMENDMENTS ACT OF 2008 (ADAAA)

We recommend that you and your atturmey Gf you ren one) review the resources ut
hap wa cone pew law types disalality cesulations.clm

How ro Request Your Cuagce Fite anp 90-Day Tiste Livi FoR REQUESTS

There are two ways to request a charge file: 1) FOLA Request or 2) a Section 83 request. You may
request your charge file under esther or both procedures. KEOC can generally respond to Section 83
requests more promptly than FOIA requests.
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Stace a kiwsuit must be filed eathen 80 days of this notice, please subsut yeur request tor the
charge tile promptly te allow sulficient time for EEOC to respond and for your review. Submata
signed written request stiling as a"POEA Request” ora “Section 83 Request” for Charge
Number $41-20022-01.431 to the Distret Diseetor at Janie Williamson, 80) Market St Suate 1000
Philadelphis. PA 19107, You can also make a POLA request online at

https veege atk. ase com faa per tal logis,

You may request the charge fe up to 4) days alter recenvang die Natice of Right ta Sue. Atter the
90 days huve passed, you may request the charge file only ef you have filed a lawsuit in court and
provide u copy of the court complaint to REGO

For more infomation on subautiing OLA Requests and Section 83 Requests, go ta,
WT ps ow Se epee Bok gg Lata, wales ct
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NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The
ADA was amended. effective January 1. 2009, to broaden the delinitions of disability to make it
easier for mdividuals to be covered under the ADA/ADAAA. A disability is sul defined as (1) a
physical or mental impairment that substantially limits one or more major fife activities (actual
disability); (2) a record of a substantially fimiting impatrment: or (2) being regarded as having 4
disability. However. these terms are redefined. and it is easier te be covered ander the new law

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“Actual” disability or a “record of” a disability (note: If you are pursuing a failure to
accommodate claim you must mect the standards for either “actual” or “recerd of” a
disability):

> The lmitations from the impairment ao longer have te be severe or sigaificant lor the
impairment te be considered substantially linuting.

e In addition to activities such as performing manual tasks. walking. seem. hearing.
speaking, breathing. learning, thinking, concentrating. reading, bending, and
communicating (nore examples at 29 CPR. § 1630.20). “otajor fife activities” now
inctude the operation of major bodily fuactions. such as: tunctruns of the mune
system, special sense organs and skin; sormal cell growth, and digestive. genitourmary.
bowel, bladder, neurolugical, brain, respiratory. circulatury, cardiovascular, endocrine,
hemic, lymphate. musculoskeletal, and reproductive functions, or the operation of an
individual organ within a budy system.

» Only one major lite actieity need be substantially limited

e With the exception of ardmary cyeglasses or contact lenses, the beneficial effects of
“mitigating measures” (¢.g.. hearme aid, prostheas, medication, thecupy, behavioral
modifications) are not considered in determining if the impairment substantially limits a
major fife activity.

» An smpairment that is “eplsedic™ (e.g. epilepsy, depression, multiple sclerosis) or “in
remission” (¢.u., concer) is a disability if it would be substantially limiting when active

» An impairment may be substantially Umiting even though it lasts or is expected to fast
fewer than six months

“Regarded as” coverage:
An individual can meet the definition of disability if an employment action was taken because
of an actual er perceived impairment (c.g.. The eniployer has a defense against a “regarded as”
‘ claim only when the impairment at issue is objectively BOTH transitery (lasting or expected to
last six months or tess) AND mune,
» Aperson ts not able to bring a failure to accommodate claim i the individual ts covered
only under the “regarded as” definition of “disability ”

For more infermation, consult the amended regulations and appendia, as well as explanatory
